                Case 09-11475-BLS            Doc 2241       Filed 05/07/14        Page 1 of 11


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                )                     CHAPTER 11
                                      )
PITT PENN HOLDING CO., INC., et al.1, )                     Case No. 09-11475 (BLS)
                                      )
                      Debtors.        )                     (Jointly Administered)
                                      )

       AMENDED CERTIFICATION OF UPSHOT SERVICES LLC REGARDING
    TABULATION OF VOTES IN CONNECTION WITH (I) CHAPTER 11 TRUSTEE’S
    SECOND AMENDED DISCLOSURE STATEMENT FOR CHAPTER 11 TRUSTEE’S
              SECOND AMENDED PLAN OF LIQUIDATION FOR
               INDUSTRIAL ENTERPRISES OF AMERICA, INC.

         I, Robert Q. Klamser, depose and say under the penalty of perjury:


         1.      I am the President of UpShot Services LLC (“UpShot”), which has offices are located

at 7808 Cherry Creek South Drive, Suite 112, Denver, Colorado 80231. I am over the age of eighteen

years and neither I nor UpShot are parties to these proceedings. I am duly authorized to make submit

this certification on behalf of UpShot (the “Certification”). Except as otherwise indicated, all matters

set forth herein are based upon my personal knowledge, and, if called as a witness, I could and would

testify competently thereto.

         2.      I submit this Amended Certification in connection with the tabulation of votes to

accept or reject the Chapter 11 Trustee’s Second Amended Plan of Liquidation for Industrial

Enterprises of America, Inc. (D.I. 2169) filed in the above-captioned case (the “Plan”).

         3.      On March 14, 2013, the Court entered the Order Authorizing Debtors to Employ and

Retain UpShot Services LLC to Provide Administrative Service to the Debtors Pursuant to Sections

327(a), 328 and 1107(b) of the Bankruptcy Code and Bankruptcy Rule 2014, Nunc Pro Tunc, to




1
  The debtors are: Pitt Penn Holding Co. (Case No. 09-11475), Pitt Penn Oil Co. LLC (Case No. 09-11476), Industrial
Enterprises of America, Inc. (Case No. 09-11508), EMC Packaging, Inc. (Case No. 09-11524), Today’s Way
Manufacturing LLC (Case No. 09-11586), and Unifide Industries LLC (Case No. 09-11587), all of which have been
jointly administered.
                                                        1
               Case 09-11475-BLS          Doc 2241       Filed 05/07/14   Page 2 of 11


March 11, 2013 (D.I. 1511), designating UpShot as the official Solicitation and Balloting Agent for

the Debtors.

        4.      On March 28, 2014, the Court entered the Order (I) Approving the Disclosure

Statement for Industrial Enterprises of America, Inc., (II) Determining Dates, Procedures and Forms

Applicable to the Solicitation Process (III) Establishing Voting Tabulation Procedures and (IV)

Establishing an Objection Deadline and Scheduling a Hearing to Consider Confirmation of the Plan

of Liquidation for Industrial Enterprises of America, Inc. (D.I. 2173) (the “Solicitation Procedures

Order”).

        5.      Pursuant to the Solicitation Procedures Order, and in accordance with the Solicitation

and Voting Procedures, UpShot worked with the Chapter 11 Trustee to solicit votes for the Plan and

to tabulate ballots of creditors entitled to vote on the Plan.

        6.      On or before April 3, 2014, pursuant to the Solicitation Procedures Order, UpShot

commenced service of Solicitation Packages (as defined in the Affidavit of Service re: Solicitation

Materials (D.I. 2181), and other solicitation materials. An affidavit evidencing UpShot’s service of

the foregoing was filed with the Court on April 3, 2014 (D.I. 2181), which more fully describes he

solicitation process and is incorporated by reference as though set forth herein.

        7.      The Solicitation Procedures Order established March 19, 2014, as the Record Date for

determining which Holders of Claims and Interests were entitled to receive Solicitation Packages and,

where applicable, vote on the Plan. UpShot followed the tabulation procedures in the Solicitation

Procedures Order to determine which Holders of Claims or Interests were entitled to vote to accept

or reject the Plan and to determine voting amounts.

        8.      The Plan designated Class B (Omtammot Secured Claim), Class C (General

Unsecured Claims), Class D (IEAM Subordinated Claims) and Class E (Equity Claims) as impaired

and such classes were entitled to vote on the Plan.


                                                     2
              Case 09-11475-BLS         Doc 2241       Filed 05/07/14    Page 3 of 11


       9.      Using the information outlined above, and with specific guidance and approval from

the Chapter 11 Trustee, UpShot created a voting database (“Database”) reflecting the names of

Holdings, addresses of Holders, voting amounts and classifications of Claims in the Voting Classes.

       10.     Using its Database, UpShot generated Ballots for Holders of Claims entitled to vote to

accept or reject the Plan. The Solicitation Procedures Order established April 23, 2014 at 5:00 p.m.

prevailing Mountain Time as the deadline by which all Ballots were to have been received by UpShot

in order to be counted as a valid vote to accept or reject the Plan (the “Voting Deadline”).

       11.     Pursuant to the Solicitation Procedures and in accordance with the Solicitation and

Voting Procedures approved thereby, the Voting Deadline was extended until May 2, 2014 at 5:00

p.m. prevailing Mountain Time for certain registered holders of IEAM Equity Interest.

       12.     Pursuant to the Solicitation Procedures and in accordance with the Solicitation and

Voting Procedures approved thereby, UpShot received and tabulated the Ballots as follows:

               a. Each returned Ballot was opened and/or inspected at UpShot’s offices;

               b. Ballots were date-stamped upon receipt and sorted according to Plan Class; and

               c. All Ballots received were then tabulated in accordance with the tabulation rules

                   outlined in the Solicitation Procedures Order.

       13.     In order for a ballot to be counted as valid, the ballot was required to have complied

with the Solicitation and Voting Procedures, including the requirement that the ballot be properly

completed, executed by the holder of the Claim (or such holder’s authorized representative) and

received by UpShot on or before the Voting Deadline. Ballots that did not comply with the

Solicitation and Voting Procedures were not counted. All ballots that complied with the Solicitation

and Voting Procedures were tabulated in accordance with such procedures.

       14.     I hereby certify that Exhibit A to this Certification is a detailed voting report of all

Voting Classes showing all Ballots submitted to and tabulated by UpShot.


                                                   3
Case 09-11475-BLS   Doc 2241   Filed 05/07/14   Page 4 of 11
Case 09-11475-BLS   Doc 2241   Filed 05/07/14   Page 5 of 11


                       Exhibit A
            Detailed Voting Report by Class
     Case 09-11475-BLS     Doc 2241     Filed 05/07/14       Page 6 of 11
                                 Exhibit A
                      Detailed Voting Report by Class

                   Class B - Omtammot Secured Claim
Votes to Accept   Votes to Reject        Dollars to Accept      Dollars to Reject
       1                 0                $4,806,239.68               $0.00
    100%                0%                     100%                    0%


                   Class C - General Unsecured Claims
Votes to Accept   Votes to Reject        Dollars to Accept      Dollars to Reject
       3                 2                $1,707,994.63           $86,628.20
     60%               40%                    95.2%                   4.8%

                   Class D - IEAM Subordinated Claims
Votes to Accept   Votes to Reject        Dollars to Accept      Dollars to Reject
       4                 1               $14,629,254.95          $7,820,122.79
     80%               20%                    65.2%                  34.8%


                     Class E - IEAM Equity Interests
Votes to Accept   Votes to Reject        Shares to Accept       Shares to Reject
       34               15                     117,187,006              5,346,269
    69.4%             30.6%                   95.6%                  4.4%
Case 09-11475-BLS   Doc 2241   Filed 05/07/14   Page 7 of 11


                       Exhibit B
                Detailed Detail by Class
                Case 09-11475-BLS   Doc 2241        Filed 05/07/14   Page 8 of 11
                                            Exhibit B
                                    Ballot Detail for Class B
 Ballot
                           Name                                 Voting Amount         Accept or Reject
Number
  11      Omtammot LLC                                                $4,806,239.68       Accept
                  Case 09-11475-BLS        Doc 2241        Filed 05/07/14   Page 9 of 11
                                                   Exhibit B
                                           Ballot Detail for Class C
 Ballot
                                   Name                                Voting Amount        Accept or Reject
Number
   1      Lippert/Heilshort & Associates                                       $57,070.00       Reject
   2      Beryl Zyskind                                                       $800,000.00       Accept
   4      Holland & Knight LLP                                                $146,576.90       Accept
   5      Ira L. Goldknopf                                                    $761,417.73       Accept
   7      Mark E. Saltzman                                                     $29,558.20       Reject
                 Case 09-11475-BLS       Doc 2241       Filed 05/07/14   Page 10 of 11
                                                 Exhibit B
                                         Ballot Detail for Class D
 Ballot
                                  Name                               Voting Amount         Accept or Reject
Number
   3      Beryl Zyskind                                                    $9,958,463.30       Accept
   6      Opt Out of IEAM, LLC                                             $7,820,122.79       Reject
   8      Ernest C. Segundo, Jr.                                           $1,459,122.06       Accept
   9      Segundo Irrevocable Trust                                        $2,016,053.69       Accept
  10      Ernest C. Segundo                                                $1,195,615.90       Accept
                       Case 09-11475-BLS    Doc 2241         Filed 05/07/14        Page 11 of 11
                                                     Exhibit B
                                             Ballot Detail for Class E

 Ballot                                                Shareholder       Shares Voted to     Shareholder      Shares Voted to
                                  Name
Number                                               Votes to Accept        Accept          Votes to Reject       Reject
  12      COR Clearing                                             1                  250               -                  -
  13      Fifth Third Bank                                         1              302,925               -                  -
  14      Morgan Stanley                                           1                1,000               -                  -
  15      First Clearing LLC                                       5              759,742               -                  -
  16      Merrill Lynch                                            1                1,000                 3          2,725,593
  17      Charles Schwab & Co., Inc.                               1                  500               -                  -
  18      TD Ameritrade Clearing, Inc.                             2                2,600                 3            906,000
  19      RBC Capital Markets LLC                                  1               18,000               -                  -
  20      ETrade Securities                                        2              115,100                 2            175,200
  21      National Financial Services LLC                          6            1,221,446                 3          1,230,371
  22      Scottrade Inc                                            7               12,496               -                  -
  23      Vanguard Brokerage Services                            -                    -                   1             38,105
  24      Jefferies LLC                                            2            4,415,000               -                  -
  25      Oppenheimer & Co Inc                                   -                    -                   2            270,000
  26      Beryl Zyskind                                            1         105,500,281                -                  -
  27      Pike Capital Partners LP                                 1              725,133               -                  -
  28      Pike Capital Partners (QP), LP                           1            4,046,533               -                  -
